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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF
                             ILLINOIS EASTERN DIVISION

MICHAEL and ADRIAN AYALA,                             )
                                                      )       NO. 11 CV 6094
                       Plaintiff,                     )
               v.                                     )       Judge Castillo
                                                      )
SGT. MICHAEL R. BOCARDO (STAR #857),                  )       Magistrate Judge Ashman
P.O. ANTHONY B. WILSON (STAR #5998),                  )
P.O. JOHN V. MEDINA (STAR #15077),                    )       JURY DEMAND
P.O. BENITO ROMERO (STAR #15027),                     )
P.O. ALBERTO SALZAZ (STAR #11104),                    )
P.O. GILBERT ESCAMILLA (STAR #7227),                  )
P.O. JESUS VERA (STAR #9589),                         )
P.O. QUINTERO (STAR #5796),                           )
P.O. CORTEZ (STAR #14983),                            )
P.O. VIRAMONTES (STAR #10590),                        )
P.O. PEREZ (STAR #17181),                             )
P.O. MONDRAGON (STAR #4364),                          )
Individually, and CITY OF CHICAGO,                    )
                                                      )
                       Defendants.                    )

                        SECOND AMENDED COMPLAINT AT LAW

       NOW COMES the Plaintiff, ADRIAN AYALA, complaining against the Defendants,

SGT. MICHAEL R. BOCARDO (STAR #857), P.O. ANTHONY B. WILSON (STAR #5998),

P.O. JOHN V. MEDINA (STAR #15077), P.O. BENITO ROMERO (STAR #15027), P.O.

ALBERTO SALZAZ (STAR #11104), P.O. GILBERT ESCAMILLA (STAR #7227), P.O.

JESUS VERA (STAR #9589), P.O. QUINTERO (STAR #5796), P.O. CORTEZ (STAR

#14983), P.O. VIRAMONTES (STAR #10590), P.O. PEREZ (STAR #17181), P.O.

MONDRAGON (STAR #4364), Individually, and the CITY OF CHICAGO, as follows:

                               COUNT I – EXCESSIVE FORCE

       1.      This action is brought pursuant to the laws of the United States Constitution,

specifically, 42 U.S.C. § 1983 and § 1988, and the laws of the State of Illinois, to redress

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deprivations of the Civil Rights of the Plaintiffs, MICHAEL AYALA and ADRIAN AYALA,

accomplished by acts and/or omissions of the Defendants, SGT. MICHAEL R. BOCARDO

(STAR #857), P.O. ANTHONY B. WILSON (STAR #5998), P.O. JOHN V. MEDINA (STAR

#15077), P.O. BENITO ROMERO (STAR #15027), P.O. ALBERTO SALZAZ (STAR #11104),

P.O. GILBERT ESCAMILLA (STAR #7227), P.O. JESUS VERA (STAR #9589), P.O.

QUINTERO (STAR #5796), P.O. CORTEZ (STAR #14983), P.O. VIRAMONTES (STAR

#10590), P.O. PEREZ (STAR #17181), P.O. MONDRAGON (STAR #4364), committed under

color of law.

        2.      Jurisdiction is based on Title 28 U.S.C. § 1343 and § 1331 and supplemental

jurisdiction of the State of Illinois.

        3.      The Plaintiff, ADRIAN AYALA was at all relevant times a United States citizen

and resident of the State of Illinois.

        4.      At all relevant times, the Defendants SGT. MICHAEL R. BOCARDO (STAR

#857), P.O. ANTHONY B. WILSON (STAR #5998), P.O. JOHN V. MEDINA (STAR #15077),

P.O. BENITO ROMERO (STAR #15027), P.O. ALBERTO SALZAZ (STAR #11104), P.O.

GILBERT ESCAMILLA (STAR #7227), P.O. JESUS VERA (STAR #9589), P.O. QUINTERO

(STAR #5796), P.O. CORTEZ (STAR #14983), P.O. VIRAMONTES (STAR #10590), P.O.

PEREZ (STAR #17181), P.O. MONDRAGON (STAR #4364), were duly appointed Chicago

police officers acting within their scope of employment and under color of law.

        5.      On or about August 16-17, 2011, the Plaintiffs, MICHAEL AYALA and

ADRIAN AYALA were at the 7-9-11 Food and Liquor Mart where MICHAEL AYALA works,

located at 4848 S. Archer Avenue in Chicago, Illinois.




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       6.      The plaintiffs, MICHAEL AYALA and ADRIAN AYALA, were not committing

any crimes or breaking any laws.

       7.      One or more of the Defendants physically stopped them, handcuffed, searched

and interrogated them.

       8.      The Plaintiffs questioned why they were being stopped and the manner which

they were being treated.

       9.      After being released, the plaintiff MICHAEL AYALA told the Defendants that

cameras had filmed everything and it wasn’t over.

       10.     One or more of the Defendants immediately jumped on the Plaintiffs, handcuffed

and beat both brothers, Plaintiffs MICHAEL AYALA and ADRIAN AYALA.

       11.     The Defendants use of force was unprovoked.

       12.     Said use of force was excessive and unreasonable.

       13.     The Plaintiffs, MICHAEL AYALA and ADRIAN AYALA, were injured.

       14.     At all relevant times, the Defendants were acting pursuant to the customs and

policies of the Chicago Police Department.

       15.     The actions of the Defendants were intentional, willful and with malice.

       16.     Said actions of the Defendants violated the Plaintiffs’ Fourth and Fourteenth

Amendment Rights of the United States Constitution and were in violation of said rights

protected by 42 U.S.C. § 1983.

       17.     As a direct and proximate consequence of said conduct of the Defendants, the

Plaintiffs, MICHAEL AYALA and ADRIAN AYALA, suffered violations of their constitutional

rights, emotional anxiety, fear, humiliation, monetary loss, pain and suffering.




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       WHEREFORE, the Plaintiff, ADRIAN AYALA prays for judgment in his favor and

against the Defendants SGT. MICHAEL R. BOCARDO (STAR #857), P.O. ANTHONY B.

WILSON (STAR #5998), P.O. JOHN V. MEDINA (STAR #15077), P.O. BENITO ROMERO

(STAR #15027), P.O. ALBERTO SALZAZ (STAR #11104), P.O. GILBERT ESCAMILLA

(STAR #7227), P.O. JESUS VERA (STAR #9589), P.O. QUINTERO (STAR #5796), P.O.

CORTEZ (STAR #14983), P.O. VIRAMONTES (STAR #10590), P.O. PEREZ (STAR #17181),

P.O. MONDRAGON (STAR #4364), in an amount of fair and reasonable compensatory

damages, punitive damages, plus attorneys’ fees and costs.

                                 COUNT II – FALSE ARREST

       1-15. The Plaintiff, ADRIAN AYALA hereby re-alleges and incorporates his

allegations of paragraphs 1-15 of Count I as his respective allegations of paragraphs 1-15 of

Count II as though fully set forth herein.

       16.     Thereafter, to cover-up their actions Defendants SGT. MICHAEL R. BOCARDO

(STAR #857), P.O. ANTHONY B. WILSON (STAR #5998), P.O. JOHN V. MEDINA (STAR

#15077), P.O. BENITO ROMERO (STAR #15027), P.O. ALBERTO SALZAZ (STAR #11104),

P.O. GILBERT ESCAMILLA (STAR #7227), P.O. JESUS VERA (STAR #9589), P.O.

QUINTERO (STAR #5796), P.O. CORTEZ (STAR #14983), P.O. VIRAMONTES (STAR

#10590), P.O. PEREZ (STAR #17181), P.O. MONDRAGON (STAR #4364), arrested and

charged the Plaintiffs, MICHAEL AYALA and ADRIAN AYALA with numerous criminal

charges.

       17.     There were no facts to support probable cause for these charges.

       18.     These actions of charging and arresting the Plaintiffs, MICHAEL AYALA and

ADRIAN AYALA, constitute false arrest.



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       19.     Said actions of the Defendants, SGT. MICHAEL R. BOCARDO (STAR #857),

P.O. ANTHONY B. WILSON (STAR #5998), P.O. JOHN V. MEDINA (STAR #15077), P.O.

BENITO ROMERO (STAR #15027), P.O. ALBERTO SALZAZ (STAR #11104), P.O.

GILBERT ESCAMILLA (STAR #7227), P.O. JESUS VERA (STAR #9589), P.O. QUINTERO

(STAR #5796), P.O. CORTEZ (STAR #14983), P.O. VIRAMONTES (STAR #10590), P.O.

PEREZ (STAR #17181), P.O. MONDRAGON (STAR #4364), violated the Plaintiffs’ Fourth

and Fourteenth Amendment Rights of the United States Constitution and were in violation of

said rights protected by 42 U.S.C. § 1983.

       20.     As a direct and proximate consequence of said conduct of the Defendants, SGT.

MICHAEL R. BOCARDO (STAR #857), P.O. ANTHONY B. WILSON (STAR #5998), P.O.

JOHN V. MEDINA (STAR #15077), P.O. BENITO ROMERO (STAR #15027), P.O.

ALBERTO SALZAZ (STAR #11104), P.O. GILBERT ESCAMILLA (STAR #7227), P.O.

JESUS VERA (STAR #9589), P.O. QUINTERO (STAR #5796), P.O. CORTEZ (STAR

#14983), P.O. VIRAMONTES (STAR #10590), P.O. PEREZ (STAR #17181), P.O.

MONDRAGON (STAR #4364), the Plaintiffs, MICHAEL AYALA and ADRIAN AYALA,

suffered violations of their constitutional rights, emotional anxiety, fear, humiliation, monetary

loss, pain and suffering.

       WHEREFORE, the Plaintiff, ADRIAN AYALA prays for judgment in his favor and

against the Defendants SGT. MICHAEL R. BOCARDO (STAR #857), P.O. ANTHONY B.

WILSON (STAR #5998), P.O. JOHN V. MEDINA (STAR #15077), P.O. BENITO ROMERO

(STAR #15027), P.O. ALBERTO SALZAZ (STAR #11104), P.O. GILBERT ESCAMILLA

(STAR #7227), P.O. JESUS VERA (STAR #9589), P.O. QUINTERO (STAR #5796), P.O.

CORTEZ (STAR #14983), P.O. VIRAMONTES (STAR #10590), P.O. PEREZ (STAR #17181),



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P.O. MONDRAGON (STAR #4364), in an amount of fair and reasonable compensatory

damages, punitive damages, plus attorneys’ fees and costs.

                          COUNT III – FAILURE TO INTERVENE

       1-15. The Plaintiff, ADRIAN AYALA hereby re-alleges and incorporates his

allegations of paragraphs 1-15 of Count II as his respective allegations of paragraphs 1-15 of

Count III as though fully set forth herein.

       16.     Each of the Plaintiffs, MICHAEL AYALA and ADRIAN AYALA, were being

beaten and kicked and one or more of the Defendants, SGT. MICHAEL R. BOCARDO (STAR

#857), P.O. ANTHONY B. WILSON (STAR #5998), P.O. JOHN V. MEDINA (STAR #15077),

P.O. BENITO ROMERO (STAR #15027), P.O. ALBERTO SALZAZ (STAR #11104), P.O.

GILBERT ESCAMILLA (STAR #7227), P.O. JESUS VERA (STAR #9589), P.O. QUINTERO

(STAR #5796), P.O. CORTEZ (STAR #14983), P.O. VIRAMONTES (STAR #10590), P.O.

PEREZ (STAR #17181), P.O. MONDRAGON (STAR #4364), allowed this to occur and failed

to intervene though the opportunity to do so existed.

       17.     Said actions of the Defendants violated the Plaintiffs’ Fourth and Fourteenth

Amendment Rights of the United States Constitution and were in violation of said rights

protected by 42 U.S.C. § 1983.

       18.     As a direct and proximate consequence of said conduct of the Defendants SGT.

MICHAEL R. BOCARDO (STAR #857), P.O. ANTHONY B. WILSON (STAR #5998), P.O.

JOHN V. MEDINA (STAR #15077), P.O. BENITO ROMERO (STAR #15027), P.O.

ALBERTO SALZAZ (STAR #11104), P.O. GILBERT ESCAMILLA (STAR #7227), P.O.

JESUS VERA (STAR #9589), P.O. QUINTERO (STAR #5796), P.O. CORTEZ (STAR

#14983), P.O. VIRAMONTES (STAR #10590), P.O. PEREZ (STAR #17181), P.O.



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MONDRAGON (STAR #4364), the Plaintiffs, MICHAEL AYALA and ADRIAN AYALA,

suffered violations of their constitutional rights, emotional anxiety, fear, humiliation, monetary

loss, pain and suffering.

       WHEREFORE, the Plaintiff, ADRIAN AYALA prays for judgment in his favor and

against the Defendants SGT. MICHAEL R. BOCARDO (STAR #857), P.O. ANTHONY B.

WILSON (STAR #5998), P.O. JOHN V. MEDINA (STAR #15077), P.O. BENITO ROMERO

(STAR #15027), P.O. ALBERTO SALZAZ (STAR #11104), P.O. GILBERT ESCAMILLA

(STAR #7227), P.O. JESUS VERA (STAR #9589), P.O. QUINTERO (STAR #5796), P.O.

CORTEZ (STAR #14983), P.O. VIRAMONTES (STAR #10590), P.O. PEREZ (STAR #17181),

P.O. MONDRAGON (STAR #4364), in an amount of fair and reasonable compensatory

damages, punitive damages, plus attorneys’ fees and costs.

                            COUNT IV – MALICIOUS PROSECUTION

       1-13. The Plaintiff, ADRIAN AYALA hereby re-alleges and incorporates his

allegations of paragraphs 1-13 of Count III as his respective allegations of paragraphs 1-13 of

Count IV as though fully set forth herein.

       14.     The Defendant officers proceeded with the criminal charges against the Plaintiff

knowing they were false.

       15.     On or about April 18, 2012, the Plaintiff ADRIAN AYALA went to trial on the

criminal charges placed against him.

       16.     The Plaintiff, MICHAEL AYALA, and his brother, ADRIAN AYALA, were both

found not guilty.

       17.     As a result of the prosecution of the Plaintiff, ADRIAN AYALA, he has suffered

monetary expense, fear, anxiety, emotional distress, pain and suffering.



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        18.    The actions of the Defendants were willful, wanton and with malice.

        WHEREFORE, the Plaintiff, ADRIAN AYALA prays for judgment in his favor and

against the Defendants SGT. MICHAEL R. BOCARDO (STAR #857), P.O. ANTHONY B.

WILSON (STAR #5998), P.O. JOHN V. MEDINA (STAR #15077), P.O. BENITO ROMERO

(STAR #15027), P.O. ALBERTO SALZAZ (STAR #11104), P.O. GILBERT ESCAMILLA

(STAR #7227), P.O. JESUS VERA (STAR #9589), P.O. QUINTERO (STAR #5796), P.O.

CORTEZ (STAR #14983), P.O. VIRAMONTES (STAR #10590), P.O. PEREZ (STAR #17181),

P.O. MONDRAGON (STAR #4364), in an amount of fair and reasonable compensatory

damages, punitive damages, plus attorneys’ fees and costs.

                 COUNT V- INDEMNIFICATION – CITY OF CHICAGO

        1-20. The Plaintiff, ADRIAN AYALA, hereby re-alleges and incorporates his

allegations of all paragraphs of Counts I-IV as his respective allegations of paragraphs 1-20 of

Count V as though fully set forth herein.

        21.    Illinois law provides that public entities are directed to pay any tort judgment for

compensatory damages for which employees are liable within the scope of their employment

activities.

        22.    All the Defendants are employees of the City of Chicago Police Department who

acted within the scope of their employment in committing the misconduct described herein.

        WHEREFORE, should Defendants be found liable for the acts alleged above, Defendant

CITY OF CHICAGO, would be liable to pay the Plaintiff any judgment obtained against said

Defendants.




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                                       JURY DEMAND

       The Plaintiff, ADRIAN AYALA, hereby requests a trial by jury.


                                                 Respectfully Submitted,


                                                       /s/ Jim P. Navarre


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